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                                Brian P. Ketcham, esq.
                              52 Duane Street, 7th floor
                              New York, New York 10007
                                       (212) 518.6380
                                   www.ketchampllc.com

March 18, 2025

BY ECF

Hon. Jennifer L. Rochon
U.S. District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

              Re:     United States v. Keith Taylor
                      24-cr-00524 (JLR)

Dear Judge Rochon:

I represent defendant Keith Taylor in the case referenced above. I write to Your Honor
for two reasons: (1) to provide the Court with a status update, and (2) to request that the
Court appoint CJA counsel for Mr. Taylor, as he is no longer able to retain and pay for
retained counsel.

Status Report: The defense and the government have engaged in plea negotiations.
Those discussions, however, have not resulted in a plea agreement. As of the date of this
letter, Mr. Taylor intends to proceed with a jury trial, which is currently scheduled to
commence on May 12.

CJA Counsel: Mr. Taylor engaged undersigned counsel in or about May 2023. Since his
arrest on June 11, 2024, however, he has been unable to regularly and fully pay his legal
fees. As a result of his arrest, subsequent indictment on September 4, 2024, and specific
bail conditions that preclude him from earning income from Modest Needs Foundation
(MNF), the charity he founded and operated since 2002, he no longer can pay his legal
fees. See ECF # 4 (Appearance Bond) at 5 (ordering Mr. Taylor to remove his name
from all MNF bank accounts); ECF # 16 (letter from Government requesting bail
modification to “prohibit [Mr. Taylor’s] continued employment at [MNF][.]”); ECF # 19
(endorsed Order granting Government’s request to modify release conditions).

Mr. Taylor has made efforts to raise funds to continue to engage retained counsel. He
has asked family and friends for loans and/or financial assistance. He also created a
GoFundMe profile to try and fund his legal defense. These efforts, however, have not
raised sufficient funds for his continued defense, especially considering the upcoming
trial-related filings, the trial itself, and potential post-trial filings. In addition to this
letter-motion requesting appointment of CJA counsel, the defense is filing a separate,
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ex-parte, letter with the Court today providing additional details regarding Mr. Taylor’s
financial condition and the background and history of his relationship with undersigned
counsel. The defense has discussed the general contents of that submission with
counsel for the Government, but the letter is being filed ex parte because it relates to the
attorney-client relationship between Mr. Taylor and undersigned counsel. Mr. Taylor is
in the process of completing the financial affidavit required for CJA appointments.

                                            ***
For the reasons set out above, and in the ex parte letter being submitted to the Court
today, I respectfully request that the Court appoint CJA counsel for Mr. Taylor.




                                                        Respectfully submitted,

                                                        /s/Brian P. Ketcham
                                                        Brian P. Ketcham



Cc:    AUSAs Rebecca Delfiner and Eli Mark (via ECF)




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